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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:17-cv-01435-RPM

IBEX, LLC and PETER VANDERBROUK,

       Plaintiffs,

v.

RIGHT AT HOME, LLC, BRIAN PETRANICK,
MARGARET HAYNES, SUSIE DUNN,
TOTAL HEALTHCARE STAFFING, INC, MARK TERRY,
IT’S ALL GOOD INVESTMENTS LLC d/b/a GOOD WEED,
IT’S ALL GOOD ENTERPRISES LLC d/b/a GOOD WEED,
601 E. LAS VEGAS LLC, 319 S. PROSPECT, LLC,
819 E. CUCHARRAS, LLC, MENTOR BUSINESS CONSULTING, LLC, and
RIGHT INVESTMENTS, LLC,

      Defendants.
______________________________________________________________________________

                 MOTION TO REMAND TO STATE COURT FOR
                  LACK OF SUBJECT MATTER JURISDICTION
______________________________________________________________________________


       Plaintiffs Ibex, LLC (“Ibex”) and Peter Vanderbrouk (“Mr. Vanderbrouk”) hereby move

the Court to remand the above-captioned matter (the “Action”) to the District Court for El Paso

County, Colorado (the “State Court”) for lack of subject matter jurisdiction (the “Motion”) and

in support thereof state the following:

                              CERTIFICATE OF CONFERRAL

       In accordance with D.C.COLO.L.CivR 7.1, the undersigned counsel hereby certifies that

he has conferred in good faith concerning the Motion with counsel for the parties which have
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been served in this Action (i.e., Right at Home, LLC, Brian Petranick, Margaret Haynes, and

Susie Dunn). The Motion is opposed.


                                              MOTION

        1.        This Action centers around the purchase of a franchise and pre-contractual fraud

committed by both the franchisor and the prior franchisee owner who sold a franchise to one of

the Plaintiffs.

        2.        On May 24, 2017, Ibex commenced this Action in the State Court against the

franchisor, Right at Home, LLC, and three of its executives: Brian Petranick, Margaret Haynes,

and Susie Dunn (collectively, the “Franchise Defendants”).

        3.        On June 13, 2017, the Franchise Defendants removed this Action to this Court on

the basis of diversity jurisdiction.

        4.        There are no federal questions in this Action.

        5.        On June 20, 2017, the Plaintiffs filed their First Amended Complaint and Jury

Demand (Dkt. # 12) (“Amended Complaint”) to add claims against the entity and individual who

sold the franchise – Total Health Care Staffing, Inc. (“THS”) and Mark Terry (“Mr. Terry”).

        6.        In their Amended Complaint, Plaintiffs also added unjust enrichment claims

against all of the entities that received monies stolen by THS and Mr. Terry from customers of

the franchise – It’s All Good Investments, LLC, It’s All Good Enterprises, LLC, 601 E. Las

Vegas, LLC, 319 S. Prospect, LLC, 819 E. Cucharras, LLC, Mentor Business Consulting, LLC

and Right Investment, LLC (collectively, the “New LLC Defendants”).

        7.        As alleged in Paragraph 6 of the Amended Complaint, THS is a Colorado

corporation with its principal place of business at 1902 E. Boulder Street in Colorado Springs,

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Colorado, and is a citizen of the State of Colorado. (See also, THS’s most recent periodic report

dated March 3, 2017, with the Colorado Secretary of State - attached hereto as Exhibit 1).

       8.      As alleged in Paragraph 7 of the Amended Complaint, Mr. Terry a resident of El

Paso County, Colorado, and is a citizen of the State of Colorado. (See also, the El Paso County

Public Assessor’s office website showing Mr. Terry as the owner of the residence located at

5128 Neeper Valley Road in Manitou Springs, Colorado - attached hereto as Exhibit 2).

       9.      As alleged in Paragraphs 8 – 14 of the Amended Complaint, the New LLC

Defendants are all Colorado limited liability companies which are, upon information and belief,

owned in whole or part by Mr. Terry, a Colorado citizen.

       10.     In light of the foregoing, there is not complete diversity of citizenship between the

Plaintiffs and the Defendants to this Action. Accordingly, this Court does not have jurisdiction

pursuant to 28 U.S.C. § 1332.

       WHEREFORE, Plaintiffs respectfully request that this Court remand this Action back to

State Court.

       Respectfully Submitted this 20th day of June 2017

                                                     JENSEN DULANEY LLC


                                                     E-filed – Original Signature on file at Jensen Dulaney
                                                     LLC
                                                     /s/ Erin M. Jensen
                                                     Erin M. Jensen
                                                     444 E. Pikes Peak Ave., Suite 200
                                                     Colorado Springs, CO 80903
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                                                     ejensen@jensendulaney.com
                                                     Attorney for Plaintiffs



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                              CERTIFICATE OF SERVICE

     I hereby certify that on June 20, 2017, a true and correct copy of foregoing MOTION
TO REMAND TO STATE COURT FOR LACK OF SUBJECT MATTER
JURISDICTION was filed and served via CM/ECF to the following:

       Margaret Young Cass, Esq.
       Heather Carson Perkins, Esq.
       Faegre Baker Daniels LLP-Denver
       1700 Lincoln Street, Suite 3200
       Denver, CO 80203-4532

                                                        /s/ Erin M. Jensen
                                                        Erin M. Jensen




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